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12 UNITED STATES DISTRICT COURT
13 FOR THE EASTERN DISTRICT OF CALIFORNIA
14 AND THE NORTHERN DISTRICT OF CALIFORNIA
15 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
16 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17
18 | RALPH COLEMAN, et al., No. 2:90-cv-00520 LKK JFM P
19 Plaintiffs, THREE-JUDGE COURT
Vv.
20
31 ARNOLD SCHWARZENEGGER, et al.,
Defendants.
22
MARCIANO PLATA, et al., No. CO1-1351 TEH
23 Plaintiffs, THREE-JUDGE COURT
24 V. DECLARATION OF ROBERT CANNING IN
25 SUPPORT OF DEFENDANTS’ MOTION IN
ARNOLD SCHWARZENEGGER, et al., LIMINE NO. 10 RE: EXCLUDE EVIDENCE
OF SUICIDE RATE
26 Defendants.
27 To: Three-Judge Panel
28
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DECL. CANNING SUPP. DEFS.’ MIL NO. 10 16499981
(CASE NOS. 90-00520 AND 01-1351)

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1 |, Robert D. Canning, declare:
2 1. | am presently employed in the position of Senior Psychologist, Specialist,
3 | within the Mental Health Program, Division of Correctional Health Care Services of the
4 | California Department of Corrections and Rehabilitation (CDCR). In this position, | am
5 || the Suicide Prevention and Response Coordinator for CDCR. Before becoming a Senior
6 | Psychologist, Specialist in September 2005, | served as Staff Psychologist providing
7 | psychological services to inmate-patients at the CDCR California Medical Facility,
8 | Vacaville from August 1, 2001 to September 23, 2005. My professional background
9 | includes employment with the University of California, Davis Medical Center as a staff
10 | psychologist from April 1, 1998 through June 30, 2001 in the Department of Psychiatry
11 || and Behavioral Sciences, and, since September 2004, as an Assistant Clinical Professor
12 | of Internal Medicine at the University of California, Davis School of Medicine. |
13 | graduated from the Pacific Graduate School of Psychology in 1993 with a degree in
14 | Clinical Psychology, and attained licensure from the California Board of Psychology in
15 | February, 1997.
16 2. | have completed a two-year National Institute of Mental Health post-
17 || doctoral fellowship in Psychiatric Epidemiology at the Western Psychiatric Institute and
18 | Clinic of the University of Pittsburgh Medical Center. | have published a number of
19 || articles in peer-reviewed publications and am a member of several professional
20 || organizations, including the American Association of Suicidology (AAS), where | am a
21 | member of the Research Section. | am an instructor for the AAS and teach two-day
22 || courses both in the United States and Canada on suicide risk assessment and treatment
23 || of suicidal patients. Through this work | am familiar with issues relating to suicide
24 || prevention in correctional settings in states other than California. For instance, in late
25 || 2007 | spent five days with correctional mental health staff from the New York State
26 | Office of Mental Health teaching and consulting on suicide risk assessment in
27 || correctional settings. As part of my responsibilities as CDCR's Suicide Prevention and
28 | Response Coordinator, | have designed and delivered the most recent suicide risk
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assessment training for CDCR’s mental health clinicians, and finally, | prepare and
deliver a monthly suicide prevention videoconference for 300-350 CDCR clinical staff.

3. | have personal knowledge of the facts stated in this declaration and if
called to testify upon those facts would do so competently.

4. As part of my work within the Division of Correctional Health Care
Services, | have been responsible for preparing numerous reports, entitled "Suicide
Report,” on the suicides of individual inmates that have occurred within the confines of
CDCR. In preparing these reports, | visit the facility where the suicide occurred,
interview available witnesses (such as cellmates, co-workers, housing officers, work
supervisors) and mental health care providers, conduct reviews of the inmate's central
files and unit health record (including any and all mental health records), review the
reports of other investigators (such as the investigating officers’ incident report, any
coroner’s report, medical death review reports), review visiting and telephone records,
view personnel effects, and sometimes interview family members. Each Suicide Report
provides a summary of the possible distal and proximal causes of the suicide, the
victim's apparent mental health status prior to their death, any mental health care
provided to the victim, the emergency response measures undertaken, and, as
appropriate, recommendations concerning any deficient practices by correctional or
Clinical staff that may have contributed to a suicide (in accord with the January 12, 2004
Coleman court order). The Suicide Report assists in the development of any quality
improvement plan, which must be submitted within 180 days of any suicide in accord
with the Coleman court order of June 13, 2002.

5. In compliance with the Coleman court's order of June 2002, these reports
are provided to the Coleman Special Master and his team of court monitors for review
within 90 days of a suicide. The Suicide Report assists in the development of any quality
improvement plan, which must be submitted within 180 days of any suicide in accord
with the Coleman court order of June 13, 2002. | communicate several times each year

with court monitor Ray Patterson, M.D., about suicide cases, and supply him with
3.

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additional information, as requested, for his preparation of the Special Master's Annual
Report on Suicides within CDCR.

6. In addition to preparing these Suicide Reports, | maintain summaries of the
number, locations, and mechanism of suicides that have occurred within CDCR. My
predecessor, Helen Steenman, Ph.D., also kept these summaries and instructed me on
their maintenance.

7. | have obtained data concerning the overall CDCR census from 1998 to
2007 from the website of the Offender Information Services Branch of CDCR. | have

obtained data concerning the frequency of suicide within CDCR since 1998 from records

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of the Mental Health Program, Division of Correctional Health Care Services.

11 8. Using this data accumulated on suicides within CDCR as well as data on
12 || the CDCR overall population, | created the attached chart entitled "CDCR Suicide Rate,
13 | 1988 to 2007, with Inmate Population.” This chart illustrates two characteristics: the
14 | annual inmate population and the suicide rate per 100,000 inmates for the years 1988
15 || through 2007. This chart shows the growth of inmate population during this time period.
16 || The chart also shows that the rates of suicide can vary widely from year to year. The
17 || chart also details, by use of a “trend line,” the five-year moving average of the suicide
18 | rate. This average has varied over time, decreasing from its high point in the 1980’s and
19 || then, over the past ten years, increasing. This chart does not show a causal relationship
20 || between historical inmate population and suicide rates.

21 9. In the course of my work, | reviewed the article entitled, “Review of

22 || Completed Suicides in the CDCR, 1999 to 2004, published in Psychiatric Services (June

23 || 2008) Volume 59, Number 6. This article was written by Kerry Hughes, M.D. and
24 | Raymond Patterson, M.D., two court-appointed Coleman monitors. The article reported
25 | that 73% of all suicides that occurred within CDCR facilities from 1999 to 2004 were
26 | completed in single cells — whether in general population housing, administrative
27 || segregation or secure housing units. Of the suicides within administrative segregation,

28 | the authors stated 53% of such suicides occurred within three weeks of placement.
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10. My review of the suicides within CDCR likewise shows that the vast
majority of suicides within CDCR have occurred in single-cell housing rather than
dormitories, gym housing, or dayroom housing.

11. In light of the occurrence of suicides within administrative segregation
settings, the Coleman Special Master recommended and the Coleman Court ordered
Defendants develop a plan to reduce suicide trends in administrative segregation units.
(See Coleman Order, 6/8/06.) | attended meetings with Plaintiffs’ counsel and Plaintiffs’
experts on suicide prevention in drafting the plan to reduce suicide trends. Once the
draft was completed, it was submitted to the Coleman Special Master and to Plaintiffs’
counsel for review and comment.

12. At no time in the discussions surrounding the development of the plan to
reduce suicide trends did Plaintiffs or their experts identify overcrowding as a cause of
suicide trends within any area of CDCR. Rather, the collaboration resulted in a jointly-
developed plan to address suicide trends in administrative segregation units by requiring
correctional officers to conduct 30-minute rounds, at staggered intervals, of new arrivals,
specific mental health screening before placement into administrative segregation, better
tracking of inmate’s history of suicidal behavior, easing of property restrictions within
administrative segregation (permitting television and other electronic appliances), and
retrofitting cells for newly arrived administrative segregation inmates to ensure a
minimum of physical features that may enable suicide attempts. The Special Master
recommended approval of Defendants’ plan to reduce suicide trends in administrative
segregation units. (See Special Master's Report and Recommendations on the
Defendants’ Plan to Prevent Suicides in Administrative Segregation, filed 12/18/06.) The
Coleman Court approved and directed Defendants to implement this plan on February
12, 2007.

13. Defendants have further acted to reduce suicides within administrative
segregation units by increasing the number of small management yards in administrative

segregation, with the final activation date of fiscal year end 2008/2009, and by obtaining
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1 | additional funding for correctional officers to staff third watch (evening) yards to increase

2 | inmates’ out-of-cell time.

3 14. In addition, CDCR voluntarily placed a moratorium on the use of video-

4 | monitoring as the sole means of conducting suicide watches, as of April 10, 2006.

5 | Plaintiffs agreed to this moratorium and, by stipulation of the parties, the moratorium

6 || became an order of the Coleman court on August 8, 2006.

7 15. Because a timely emergency response can prevent death in a suicide

8 | attempt, CDCR has required correctional officers to initiate and continue

9 || cardiopulmonary resuscitation to inmates who are unresponsive due to their suicide
10 | attempts, unless the inmate demonstrates rigor mortis or other signs of obvious trauma
11 || rendering such response moot.
12 16. The positive effect of Defendants’ actions to reduce suicide may not be
13 || evident in the short-term. As Drs. Patterson and Hughes stated, “Even with large
14 || samples, a minimum of five years of data are needed for meaningful analysis because of
15 | year-to-year variability and other factors affecting mental health resources.” (Patterson
16 || & Hughes, “Review of Completed Suicides in the CDCR, 1999 to 2004,” Psychiatric
17 | Services (June 2008) Vol. 59, No. 6, p. 678.)
18 17. As much as these court-approved plans address and aim to reduce the
19 | environmental features surrounding suicides, | believe the actual cause of suicide is due
20 || to multiple factors, many of which are unique to each patient. | agree with Dr. Patterson
21 | and Dr. Hughes’ findings that inmates at risk for suicide often present with one or more
22 | of the following characteristics: a history of serious mental illness; history of suicide
23 || attempts; housing in a single cell, particularly in administrative segregation or a secure
24 | housing unit; expressions of safety concerns with associated anxiety and agitation;
25 || serious medical concerns, co-occurring severe personality disorders and coexisting
26 | mental illness; a legal status that has undergone a significant change (such as a recent
27 | conviction for a new crime); and Caucasian race (although the number of suicides
28 || among Hispanic prisoners increased rapidly during the six-year period). (Patterson &

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Hughes, “Review of Completed Suicides in the CDCR, 1999 to 2004,” Psychiatric |.
Services (June 2008) Vol. 59, No. 6, p. 681.) There is no empirical or scientific basis to
causally link these factors to the overall census of CDCR.

18. These same ‘at risk’ features have been discussed by the Coleman Special
Master’s reports to the Coleman Court on suicides within CDCR. | have reviewed the
Special Master’s Report on Suicides Completed in CDCR in Calendar Year 2005, filed
November 26, 2007, and the Special Master’s Report on Suicides Completed in CDCR
in Calendar Year 2006, filed September 12, 2008. The Report on Suicides Completed in
CDCR in Calendar Year 2006, like the report on those suicides completed within
calendar year 2005, noted the predominance of risk factors among those inmates who
committed suicide: male (91%), Caucasian (44%) or Hispanic (35%), within the Mental
Health Services Delivery System (47%), and between the ages of 31 and 50 (70%). The
Special Master found “significant indications of inadequate treatment” in 72.1% of the
cases, and made recommendations to address those treatment issues. None of the
recommendations in these reports concerned the impact of overcrowding, if any, on the
occurrence of any of these suicides.

19. Based upon my review of the suicides committed within CDCR during my
tenure as Senior Psychologist, Specialist, within the Mental Health Program of CDCR as
well as my review of the Special Master’s reports on suicides within CDCR generally and
within its administrative segregation units specifically, it is my opinion that the evidence
is inconclusive that there is any causal link between suicide rates and CDCR inmate
census.

| declare under the penalty of perjury that the foregoing is true and correct.

Executed on October 20, 2008 in Sacramento, California.

Robert Canning \

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